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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

  DELOITTE CONSULTING LLP and                     )
  DELOITTE DEVELOPMENT LLC,                       )
                                                  )
              Plaintiffs,                         )
                                                  )
         v.                                       ) C.A. No. 23-325-WCB
                                                  )
  SAGITEC SOLUTIONS, LLC,                         )
                                                  )
              Defendant.                          )


                                    NOTICE OF SERVICE

        PLEASE TAKE NOTICE that on October 2, 2024, the following documents were served

 on the persons listed below in the manner indicated:

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